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13                            UNITED STATES DISTRICT COURT
14                     FOR THE CENTRAL DISTRICT OF CALIFORNIA
15   UNITED STATES OF AMERICA,                     No. CR 21-491-SB
16               Plaintiff,                        GOVERNMENT’S SENTENCING
                                                   POSITION AND OBJECTIONS TO THE
17                      v.                         PRESENTENCE INVESTIGATION
                                                   REPORT; EXHIBITS 1-14
18   JEFFREY FORTENBERRY,
19               Defendant.                        Hearing Date:     June 28, 2022
                                                   Hearing Time:     8:00 a.m.
20                                                 Location:         Courtroom of the Hon.
                                                                     Stanley Blumenfeld
21

22

23         Plaintiff United States of America, by and through its counsel of record, the
24   United States Attorney for the Central District of California and Assistant United States
25   Attorneys Mack E. Jenkins, Susan S. Har, and J. Jamari Buxton, hereby files its
26   Sentencing Position and Objections to the Presentence Investigation Report for
27   defendant Jeffrey Fortenberry in the above-captioned case.
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 1         The government’s Sentencing Position and Objections to the Presentence
 2   Investigation Report is based upon the attached memorandum of points and authorities,
 3   the supporting exhibits, the files and records in this case, the Presentence Investigation
 4   Report, the Recommendation Letter, and such further evidence and argument as the
 5   Court may permit.
 6    Dated: June 14, 2022                     Respectfully submitted,
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 1                   MEMORANDUM OF POINTS AND AUTHORITIES
 2   I.    INTRODUCTION
 3         Defendant Jeffrey Fortenberry was a powerful career politician who swore an oath
 4   to support and defend the United States and to serve the interests of his constituents.
 5   Defendant violated that oath, and broke the law, when he repeatedly chose to serve
 6   himself, his political career, and his ego during the course of a significant federal
 7   investigation into violations of the Federal Election Campaign Act (“FECA”), bribery,
 8   and foreign influence—paramount matters implicating the core of American democracy.
 9   Despite numerous opportunities to correct his course, defendant deliberately and
10   proactively chose the path of self-preservation and abandoned his oath and duty when he
11   made the calculated decision to repeatedly lie to and mislead federal investigators.
12   Defendant then entreated federal investigators for an audience in Washington D.C. and,
13   when they agreed, defendant executed his premeditated plan to intentionally feed the
14   investigators more falsities and misleading information in an attempt to throw them off
15   his trail. Aggravating matters still, defendant sought to use his status as a lawmaker to
16   deter and even intimidate investigators who were following their own sworn duty and the
17   objective evidence wherever it led them, including to the doorstep of an elected U.S.
18   Congressmember in Nebraska who sat on the influential House Foreign Affairs
19   Committee. And when all that failed, defendant pursued baseless and personal attacks in
20   litigation against the lead FBI investigator and the prosecutors and even attempted to lay
21   blame on his election lawyer and prior defense attorney—all in an effort to evade
22   defendant’s own self-created criminal liability.
23         The effect of defendant’s criminal conduct has been to fuel distrust in our federal
24   elected officials. His conduct further undermined the already fraying public trust of
25   defendant’s constituents and citizens nationwide. Defendant did not engage in this
26   wrongdoing out of an urgent financial need or because of an aberrant life circumstance.
27   Rather, he was motivated by plain, selfish desire to cling to his status as a powerful
28   federal official. After being provided numerous opportunities to come clean, defendant
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 1   unapologetically chose to do the opposite. Even after being confronted with the
 2   overwhelming evidence of his guilt, including before his indictment and long after the
 3   federal grand jury returned a true bill, defendant continuously chose hostile defiance and
 4   blame. Defendant’s self-preservation strategy was rejected throughout the litigation by
 5   the Court and ultimately by the jury, swiftly and firmly.
 6         For his pattern of choosing hubris over honesty and for the trampled public trust
 7   that defendant leaves in his wake, a meaningful term of imprisonment is appropriate and
 8   necessary. A meaningful prison term is also necessary to deter other powerful public
 9   officials who might venture down defendant’s unlawful path of lies and obstruction in
10   hopes their powerful position will shield them from inquiry. The government
11   respectfully recommends that the Court impose the following sentence: (a) 6 months’
12   imprisonment; (b) two years’ supervised release; (c) a $30,000 fine; (d) 150 hours of
13   community service; and (e) a special assessment of $300. The custodial
14   recommendation is at the low-end of the government’s Guidelines calculations, detailed
15   further below.
16   II.   STATEMENT OF FACTS1
17         Since 2015, the U.S. Attorney’s Office and the FBI were engaged in an expansive
18   inquiry into potential FECA violations, bribery, and foreign influence schemes centered
19   around a Nigerian-born billionaire of Lebanese descent, Gilbert Chagoury, who had
20   financial and personal connections to various U.S. politicians (the “Federal
21   Investigation”). The investigation focused on the anti-democratic efforts of Chagoury
22   and his associates to secretly inject foreign money into the U.S. electoral system in
23   furtherance of Chagoury’s own personal and political aims. As defense witness the
24   Honorable Anna Eshoo testified during trial, transparency in election finance goes to the
25   heart of our democracy because concealing the source of the funds (and ultimately a
26   person’s influence on elections) is “anti-democratic.” Circumventing FECA laws allows
27
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28           Unless indicated otherwise, all facts herein are drawn from the Presentence
     Investigation Report (“PSR”). (See CR 207 ¶¶ 5-24.)
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 1   wealthy individuals to wield an outsized influence on who is elected and puts a wealthy
 2   and foreign finger on the scale of U.S. elections and policy.
 3         This is what the Federal Investigation sought to uncover, prevent, punish, and
 4   deter. And it is this investigation that defendant repeatedly sought to obstruct by lying to
 5   and misleading federal investigators in his capacity as a sitting U.S. Congressman.
 6         A.      Background and Overview of the Federal Investigation
 7         Under federal law, it is a violation to knowingly accept campaign contributions
 8   from foreign nationals and from conduits. The Federal Election Commission (“FEC”) is
 9   the entity charged with ensuring transparency in federal elections by administering and
10   enforcing campaign finance law, including by requiring each federal political campaign
11   to submit regular reports to the FEC with information about donors. These FEC forms
12   are one of the country’s independent safeguards against federal and/or outsized
13   influences. However, because such forms rely on the candor of the reporting official, it
14   is a check that is easy to evade and difficult to enforce.
15         The Federal Investigation investigated illegal foreign and conduit contributions
16   and foreign influence schemes orchestrated by Gilbert Chagoury and aided by other
17   individuals, including Toufic Baaklini and Dr. Elias Ayoub. As a foreign national,
18   Chagoury was prohibited from making contributions in support of United States elected
19   officials. As early as 2010, Chagoury had been the subject media reports claiming that
20   he had ties to terrorism financing.2 In 2015 and 2016, reporting in this same vein
21   regarding Chagoury intensified and became more widespread. In particular, the
22   reporting focused on, and was deeply critical of, then-presidential candidate Hillary
23   Clinton due to her and her foundation’s controversial (but legal) financial connection to
24   Chagoury as a “top Clinton Foundation donor.”
25         Defendant had significant ties to Chagoury, Baaklini, and Dr. Ayoub through the
26   non-profit organization In Defense of Christians (“IDC”). Chagoury was a key initial
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               Chagoury was never charged with any terrorism related offenses.
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 1   financial backer for IDC, and defendant personally met with Chagoury twice, in D.C.
 2   and in Paris. Baaklini was the founder of IDC and, until he resolved the criminal
 3   charges against him in this case, served as its President. Baaklini also consistently
 4   served as a proxy for Chagoury and has assisted him with financial and political dealings
 5   in the United States. Dr. Ayoub served as a board member with IDC, was very close to
 6   Chagoury, and had ties to Baaklini.
 7          At the time of the offenses, defendant was a U.S. Representative for Nebraska,
 8   who supported the mission of IDC. Indeed, defendant became an important political ally
 9   for Baaklini and his organization. As a result, defendant developed a close working
10   relationship and friendship with Baaklini involving regular communication via text
11   messages and emails. (See Trial Tr. 3/18/2022 A.M. at 138:22-24.) Through Baaklini,
12   defendant came to know Chagoury based on their shared commitment to IDC.
13          Federal investigators learned that Chagoury had funneled his money to the
14   campaigns of U.S. political candidates whom Chagoury believed would be supportive to
15   his cause. The Federal Investigation ultimately revealed that from 2012 to 2016,
16   Chagoury provided approximately $180,000 in illegal political contributions to four
17   political candidates—including defendant—with the assistance of Baaklini, Dr. Ayoub,
18   and others. The Federal Investigation also revealed that Chagoury separately routed
19   $50,000 to then-United States Secretary of Transportation Ray LaHood, in the form of a
20   purported termless “loan” that LaHood never disclosed as required on government ethics
21   forms and never paid back until after he (LaHood) resolved his matter as part of this
22   investigation. (Trial Ex. 197 (Stipulation Regarding Results of the Federal
23   Investigation).)
24          The Federal Investigation sought to learn whether and when any of the recipient
25   politicians were aware of the illicit contributions to their campaigns; whether any person
26   sought to impermissibly influence the recipient politician in exchange for the
27   contribution; and whether any recipient politician took any official acts in connection
28   with the illicit contributions.
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 1         B.     2016: Defendant’s Campaign Receives Illegal Contributions at a
                  Fundraiser in Los Angeles
 2
           In late 2015, defendant asked Baaklini to assist him in identifying supporters who
 3
     would contribute to his re-election campaign. Baaklini advised defendant that he had a
 4
     group of Lebanese donors in Los Angeles who wanted to support defendant, and
 5
     defendant, in turn, directed his fundraising consultant, Alexandra Kendrick, to
 6
     coordinate the event with Baaklini. Around the same time, Baaklini directed Dr. Ayoub
 7
     to host the Los Angeles fundraiser for defendant’s re-election.
 8
           In 2016, Chagoury arranged to funnel $30,000 of his money to defendant’s
 9
     campaign through Baaklini. Baaklini, in turn, arranged to provide that money in cash to
10
     Dr. Ayoub to fund defendant’s campaign through conduits. Consistent with that plan,
11
     Baaklini introduced Kendrick to Dr. Ayoub as the host of the Los Angeles fundraiser
12
     (the “2016 Fundraiser”). Kendrick and defendant’s campaign team coordinated with
13
     Baaklini and Dr. Ayoub to organize the 2016 Fundraiser on February 20. In the lead-up
14
     to the 2016 Fundraiser, Kendrick emphasized to defendant the potential risk of illegal
15
     foreign and conduit contributions with this event.
16
           Defendant flew out to Los Angeles for the weekend of the 2016 Fundraiser; Dr.
17
     Ayoub picked him up from the airport. The 2016 Fundraiser was co-hosted by Dr.
18
     Ayoub and his family friends at the family friends’ home in Los Angeles. The 2016
19
     Fundraiser raised a total of $36,000, which was one of defendant’s most successful
20
     fundraising events. Of that amount, approximately $30,200 was contributed by eight
21
     conduits who were reimbursed with Chagoury’s cash. In his April 15 Quarterly FEC
22
     Report for 2016, defendant disclosed the eight conduits who had contributed Chagoury’s
23
     money; the report did not indicate Chagoury or Baaklini provided any contributions.
24
           A short time after the 2016 Fundraiser, defendant saw Baaklini in Washington,
25
     D.C. In a private conversation, defendant asked Baaklini if he thought anything was
26
     wrong with the 2016 Fundraiser. Baaklini falsely told him no and inquired why
27
     defendant was asking. In response, defendant noted that the money had all come from
28

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 1   one family. (Trial Tr. 3/18/2022 A.M. at 185:18-188:24.)
 2         However, approximately one year later, when defendant sent Baaklini a March 28,
 3   2017 text message stating “We need to see you quicky. Please call and come over,”
 4   Baaklini replied by sending defendant the name and contact information for Baaklini’s
 5   lawyer – criminal defense attorney, and former DOJ prosecutor, James Trusty. (Trial
 6   Ex. 38.) Baaklini, who had by then been interviewed by the FBI, went on to tell
 7   defendant, “My attorney believes it could be productive for all of us to get together
 8   including any attorney who represents your interests.” By this text, defendant knew that
 9   Baaklini had a criminal defense attorney who thought it would be mutually “productive”
10   for defendant to get an attorney himself and for the four of them to talk – which likely
11   suggested to defendant that Baaklini believed defendant had information relevant to a
12   crime that may implicate Baaklini, defendant, or both.
13         C.     2018: Defendant Pushes Dr. Ayoub to Host Another Fundraiser in Los
                  Angeles for Him
14
           After keeping in periodic contact with Dr. Ayoub (largely through text messages),
15
     defendant reached out to Dr. Ayoub to ask for a call in the spring of 2018. By that time,
16
     Dr. Ayoub had chosen to cooperate with the FBI. On April 9, 2018, defendant called Dr.
17
     Ayoub, which was surreptitiously recorded at the direction of the FBI. Defendant asked
18
     Dr. Ayoub if he would host another fundraising event in Los Angeles for him, and Dr.
19
     Ayoub agreed. (See Trial Ex. 112T.)
20
           Following up on defendant’s request, on June 4, 2018, Dr. Ayoub placed a call to
21
     defendant, which was surreptitiously recorded at the direction of the FBI. During that
22
     nine-minute call, Dr. Ayoub repeatedly discussed with defendant that, during the 2016
23
     Fundraiser, $30,000 in cash provided by Baaklini had been donated to defendant’s
24
     campaign by conduit donors who were reimbursed by Dr. Ayoub (the “June 4 Call”).
25
     Dr. Ayoub stated Baaklini’s $30,000 cash “probably did come from Gilbert Chagoury.”
26
           Defendant did not express surprise or concern or seek clarification about Dr.
27
     Ayoub’s admissions that illegal foreign cash had been funneled to his campaign by
28

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 1   people known to him and people who sought his legislative support during the time he
 2   was up for re-election and received the illegal donations. Instead, defendant continued to
 3   push for the second fundraiser, explaining that he hoped to “have some continuation of
 4   the fine generosity” that he had received from the first (illicitly funded) fundraiser.
 5   Defendant also offered to speak with Baaklini—a key facilitator of the illegal
 6   contributions to defendant’s campaign—to see if he could again “help” with the
 7   fundraiser, including by seeking out whether Chagoury could again serve as a source for
 8   the money. (See Trial Ex. 113T.)
 9         Following the June 4 Call—and consistent with defendant’s suggestion that he
10   could speak to Baaklini about “help[ing]” with the fundraiser—defendant sent Baaklini a
11   text message that same day asking, “Would you have some time to visit later Thursday
12   evening?” (See Trial Ex. 43.)
13         Despite what Dr. Ayoub stated during the June 4 Call, defendant did not amend
14   his FEC disclosures regarding the contributions from the 2016 Fundraiser. Defendant
15   also did not disgorge the funds from the 2016 Fundraiser as required by the FEC and
16   which would have required him to publicly disclose that he had received, or he suspected
17   he had received, illegal conduit contributions from Chagoury.
18         D.     March 2019: Defendant Lies to and Misleads CDCA Investigators
                  about the Illegal Contributions He Received
19
           On March 23, 2019, Agent Carter and Agent O’ Leary traveled to defendant’s
20
     home in Lincoln, Nebraska to interview defendant as part of the Federal Investigation.
21
     The interview was surreptitiously video and audio recorded. Defendant asked for, and
22
     received, the presence of local Nebraska police to serve as his escort during the entirety
23
     of his interview. (Trial Tr. 3/22/2022 A.M. at 52:20-24.)
24
            At the start of the interview, defendant was openly hostile towards the federal
25
     investigators and directed that they listen to his grievances before he would participate in
26
     any interview. (See Trial Ex. 115T.) After they did so, the federal investigators advised
27
     defendant it was a crime to lie to federal agents. (Id.) The investigators’ questions
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 1   focused on Chagoury, Baaklini, Dr. Ayoub, IDC, and illegal campaign contributions.
 2   Defendant repeatedly and falsely denied knowing about any illegal conduit contributions
 3   to his campaign, including after being specifically asked about Dr. Ayoub and Baaklini.
 4   Defendant denied receiving money from Chagoury. Defendant also falsely stated that
 5   “the only people [he] received money for are on the financial disclosure.”
 6         Defendant misleadingly minimized his association and knowledge of Dr. Ayoub.
 7   Defendant claimed that he had only a vague recollection of Dr. Ayoub and stated that he
 8   “may have” donated to him. (See Trial Ex. 120T.) When pressed about whether Dr.
 9   Ayoub just donated or held a fundraiser, defendant equivocated, stating he would need to
10   “double check.” (See Trial Ex. 126T.)
11         Defendant chose not to disclose his conversation with Baaklini after the 2016
12   Fundraiser. Similarly, defendant did not disclose that he had also called his election
13   lawyer, Jessica Johnson, after the June 4 Call.
14         E.     July 2019: Defendant Requests Another Interview with Investigators
                  and Feeds Them More Lies
15
           Following the March 23 interview, defendant (through then-counsel Trey Gowdy)
16
     proactively reached out to Agent Carter and requested another interview. A second
17
     interview took place in Washington, D.C. on July 18, 2019, at Mr. Gowdy’s office. At
18
     the time of the interview, defendant was still unaware that his call with Dr. Ayoub had
19
     been recorded or that Dr. Ayoub was cooperating with the Federal Investigation.
20
     Defendant was again advised that the interview was voluntary and that it was a crime to
21
     lie to the federal government. (See 7/18/2019 D.C. Interview Transcript at 1-4.)
22
           Defendant then launched into an admittedly prepared speech regarding the origins
23
     of his congressional work in the Middle East. (Trial Tr. 3/22/2022 P.M. at 30:1-22.) For
24
     the first half of the approximately two-hour interview, defendant took painstaking steps
25
     to paint himself in a positive light by drawing on his lawmaker status, repeatedly
26
     emphasizing his work in Congress, and using that work as “context” in an effort to
27
     legitimize his relationship and contacts with Chagoury, Baaklini, and Dr. Ayoub. (See
28

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 1   7/18/2019 D.C. Interview Transcript at 5-25.) Defendant also described himself as a
 2   “lawmaker in charge of a political campaign” and depicted himself as a stickler for
 3   fowling the rules. (See id. at 52.) By these statements, defendant intended to suggest
 4   that he, as a lawmaker, always acted aboveboard and thus investigators could trust his
 5   version of events.
 6         Despite the § 1001 warnings he had again received, defendant made numerous
 7   false and misleading statements during the D.C. Interview, including that:
 8             He had not been told by Dr. Ayoub during the June 4 Call that Baaklini had
 9                given Dr. Ayoub $30,000 cash to help fund the 2016 Fundraiser;
10             He was not aware of any illicit donation made during the 2016 Fundraiser;
11             He ended the June 4 Call with Dr. Ayoub after Dr. Ayoub made a
12                “concerning comment” during the call; and
13             He would have been “horrified” if he had learned from Dr. Ayoub during
14                the June 4 Call that Baaklini had provided Dr. Ayoub money to contribute
15                to the 2016 Fundraiser.
16         At no time did defendant cause his campaign to file amended FEC reports with
17   accurate information about the true contributors to the 2016 Fundraiser.
18         Defendant’s lies and obstructive conduct caused the federal government to divert
19   significant resources and delay the investigation, as investigators were now obligated to
20   evaluate and vet the information fed to them by defendant. (See Trial Tr. 3/22/2022
21   P.M. at 22:19-23:12 (following the Nebraska interview, investigators were looking into
22   potential FECA violations and corrupt relationship, as well as a potential false statement
23   charge); id. at 27:5-14 (when an individual is perceived to be lying after § 1001
24   advisement, it obligates the FBI to investigate “whether they’re concealing a greater
25   crime or some other crime that they don’t want the FBI to know about”); id. at 51:22-
26   52:16; 55:3-9; 58:7-17; 60:18-24; 65:23-25; 76:15-23; 81:3-12 (as a result of defendant’s
27   lies, federal investigators obtained text messages from Baaklini and a cell-site warrant
28   for defendant and Baaklini’s phones, reviewed defendant’s FEC filings, interviewed five
                                               9
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 1   additional witnesses identified by defendant, and attempted to interview two others).)
 2   III.   THE PRESENTENCE INVESTIGATION REPORT
 3          On May 24, 2022, the United States Probation Office (“USPO”) disclosed the PSR
 4   and its recommendation letter. (CR 206 [“PSR”]; CR 207 [“PSR Ltr.”].) The USPO
 5   found that defendant’s base offense level was 6 under U.S.S.G. § 2B1.1(a)(2) and that no
 6   additional specific offense characteristics or adjustments applied, resulting in a total
 7   offense level of 6. (PSR ¶¶ 30-40.) The USPO further found that “defendant has not
 8   clearly demonstrated acceptance of responsibility for the offense.” (Id. ¶ 39.) The
 9   USPO found defendant fell within Criminal History Category I, a conclusion with which
10   the government concurs. (Id. ¶ 45). Based on the foregoing, the USPO concluded that
11   the Guidelines range was 0 to 6 months’ imprisonment. (Id. ¶ 142.)
12          As noted in the PSR, the government previously provided its position on the
13   Guidelines to the USPO; specifically, that the obstruction of justice (U.S.S.G. § 3C1.1)
14   and abuse of trust (U.S.S.G. § 3B1.3) enhancements applied.3 (See PSR ¶¶ 33-36.)
15   Support for these enhancements is detailed below. Even if the Court finds that the legal
16   requirements for these two enhancements have not been met, the underlying facts still
17   reflect aggravating conduct warranting a meaningful custodial sentence under 18 U.S.C.
18   § 3553(a).
19          With respect to imprisonment, the USPO recommended a mid-range sentence of
20   three months’ imprisonment based on the need for the sentence “to reflect the
21   seriousness of the offense, to promote respect for the law, and to provide just punishment
22   for the offense involving false statements and the concealment of material facts on more
23   than one occasion.” (PSR Ltr. at 1, 5.) The USPO also highlighted the damage to the
24   “public trust” caused by defendant’s actions. (Id. at 5.) The USPO also found that the
25

26
            3
             Government counsel also met and conferred with counsel for defendant
27   regarding defendant’s sentencing in early May 2022. At this meeting, government
     counsel advised defense counsel the government would be seeking these two
28   enhancements, that it calculated defendant’s Guidelines range as 6-12 months’ custody,
     and that it intended to seek a custodial sentence within that range.
                                                10
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 1   relevant factors called for the imposition of a fine at the high-end of the range and
 2   recommended a $9,500 fine, along with the $300 mandatory special assessment. (Id. at
 3   1, 6). The USPO recommended one year of supervised release to follow defendant’s
 4   custodial term. (Id. at 2.)
 5   IV.   THE GOVERNMENT’S CALCULATION OF THE GUIDELINES RANGE
 6         The government submits that the following Guidelines apply:
 7         Base Offense Level                         6           U.S.S.G. § 2B1.1(a)(2)
 8         Obstruction or Impeding the                +2                U.S.S.G. § 3C1.1
 9         Administration of Justice
           Abuse of Position of Trust                 +2                U.S.S.G. § 3B1.3
10
           Total:                                     10
11

12
           With a Total Offense Level of 10 and a Criminal History Category of I,
13
     defendant’s advisory Guidelines range is 6 to 12 months’ custody, a $4,000 to $40,000
14
     fine, and 1 to 3 years of supervised release.
15
           A.       Defendant Obstructed Justice by Affirmatively Seeking Out a Second
16                  Interview and Then Lying During That Interview
17         Section 3C1.1 of the Sentencing Guidelines provides for a two-level enhancement
18   where “(1) the defendant willfully obstruct[s] or impede[s], or attempt[s] to obstruct or
19   impede, the administration of justice with respect to the investigation, prosecution, or
20   sentencing of the instant offense of conviction, and (2) the obstructive conduct relate[s]
21   to (A) the defendant’s offense of conviction and any relevant conduct; or (B) a closely
22   related offense.” This enhancement applies for “providing a materially false statement to
23   a law enforcement officer that significantly obstructed or impeded the official
24   investigation or prosecution of the instant offense.” U.S.S.G. § 3C1.1 cmt. n. 4(G).
25   “Willfully providing material false statements to federal law enforcement officials
26   undisputedly justifies the obstruction enhancement where actual obstruction occurs.”
27   United States v. Luca, 183 F.3d 1018, 1023 (9th Cir. 1999); see also United States v.
28   McNally, 159 F.3d 1215, 1217 (9th Cir. 1998) (applying enhancement for false
                                                11
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 1   information provided to law enforcement, which created an actual impediment or
 2   obstruction to government’s efforts); United States v. Caldwell, 626 F. App’x 683, 687
 3   (9th Cir. 2015) (same); United States v. Williams, 160 F. App’x 582, 586 (9th Cir. 2005)
 4   (holding that defendant’s conviction under 18 U.S.C. § 1001 was sufficient under
 5   U.S.S.G. § 3C1.1 to warrant an obstruction of justice adjustment). Conduct is material
 6   where, if believed, it “would tend to influence or affect the issue under determination.”
 7   United States v. Allen, 341 F.3d 870, 897 (9th Cir. 2003) (cleaned up). Significant
 8   obstruction can mean the conduct was “disruptive” to the investigation or “significantly
 9   delayed” it. United States v. Sanders, 478 F. App’x 374, 376 (9th Cir. 2012). A
10   “hindrance to the investigation to the point of diversion of resources” can also support
11   the adjustment. See United States v. Thing, 88 F. App’x 182, 185 (9th Cir. 2004).
12                1.     By His Schemes and Lies at the Washington D.C. Interview,
                         Defendant Obstructed the Investigation into Defendant’s Crimes in
13                       the Nebraska Interview
14          This adjustment for obstruction of justice applies to defendant’s conduct
15   supporting his conviction for Count Three because that criminal conduct obstructed the
16   government’s investigation into Count Two (a “count of conviction”). Specifically, after
17   making numerous materially false and misleading statements in his first interview in
18   Nebraska (Count Two), it is undisputed that defendant affirmatively sought out a second
19   interview in Washington, D.C., ostensibly to provide “additional information” related to
20   the topics of the first interview. (PSR ¶ 23). Federal investigators traveled to D.C. to
21   interview defendant pursuant to his request, which took place at his lawyer’s office. But
22   instead of coming clean during his second interview or correcting his false statements,
23   defendant doubled down on his lies from the first interview, made additional false
24   statements, and provided new misleading information meant to cover up his lies during
25   the first interview. (See id.) All of this caused a direct and significant diversion of
26   resources, as well as delay because investigators were now obligated to evaluate this new
27   information provided by defendant to verify or disprove it. (See supra Section II.E.)
28         Defendant’s conduct “disrupted” and “significantly delayed” both the broader
                                                12
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 1   investigation into the underlying FECA and bribery schemes and the nascent
 2   investigation into whether defendant willfully and materially lied during his first
 3   interview in Nebraska.4 Sanders, 478 F. App’x at 376. This enhancement is especially
 4   proper given the calculated way defendant sought out the second voluntary interview and
 5   fed the government false and misleading information. Having chosen to do so, the law
 6   dictates that he should be held responsible for his choices to further materially lie and
 7   impede the investigation into him and to divert investigative resources towards vetting
 8   his separate lies from both interviews. Importantly, as the jury and USPO found, this
 9   second interview was not limited to defendant repeating the same lies from his first
10   interview. (Compare PSR ¶ 22 with id. ¶ 23.) He pushed new lies, included new
11   narratives that omitted new material facts, and offered new purportedly exonerating
12   witnesses and documents. (See, e.g., Trial Tr. 3/22/2022 P.M. at 51:10-53:25 (defendant
13   falsely advised investigators that he told his aide, Lucas Wenz, not to move forward with
14   the second fundraiser and providing a purportedly corroborating email that, in fact, pre-
15   dated the June 4 Call with Dr. Ayoub).)
16                2.     Defendant’s Obstructive Conduct Significantly Impacted the
                         Investigation
17
           United States v. Garcia, 700 F. App’x 639 (9th Cir. 2017), is instructive. There,
18
     the Ninth Circuit found the defendant’s lies actually impeded the investigation and
19
     applied the obstruction enhancement because:
20
                  Garcia did not simply deny guilt; he lied by saying that he was
21
                  taking a friend to apply for a job at MGM and that the gloves
22                and duct tape belonged to the registered owner of the car.
                  Officers tracked down, interviewed, and called as witnesses
23
                  MGM employees and the car’s owner in order to refute
24                Garcia’s exculpatory statements. None of that investigation
                  would have occurred without Garcia’s lies, so it cannot be
25
                  characterized as “routine” background investigation or
26
           4
27            The government also asserts application of the enhancement is supported based
     on defendant’s obstruction of “a closely related offense,” under U.S.S.G. § 3C1.1,
28   namely the closely related offense of FECA violations by way of his campaign’s receipt
     of illegal contributions from defendant’s friends.
                                                13
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 1                 otherwise ordinary investigation that would have occurred
 2                 even without the lies.

 3   Id. at 643.
 4         Defendant’s obstructive conduct during the second interview caused investigators
 5   to conduct numerous additional interviews of persons (including multiple out-of-state
 6   witnesses) identified by defendant to determine whether he had affirmatively lied during
 7   the first interview. (See PSR ¶ 23 fn.3). Here, the government would not have
 8   interviewed defendant’s FEC lawyer (Jessica Johnson Furst), his chief of staff (Reyn
 9   Archer), or Luke Wenz had defendant not provided false exculpatory statements related
10   to them during the D.C. interview. Similarly, the government would not have sought
11   and reviewed these same witnesses’ email and text communications. Agents likely
12   would not have reviewed Baaklini’s GPS location for that 2018 time period and cross-
13   referenced it with defendant’s GPS location in order to determine whether they met after
14   the call with Dr. Ayoub, had defendant not claimed in the second interview that he never
15   spoke with Baaklini about the Dr. Ayoub call. Yet the government was forced to take all
16   these steps and more.
17         Defendant’s obstructive conduct also caused federal investigators to focus more
18   on the relationship between defendant, Baaklini, and Chagoury to determine, among
19   other things, whether or not defendant lied to conceal a past, present, or developing
20   corrupt relationship. The net result was to cause an overall delay to the investigation.
21   After defendant’s March 2019 Nebraska interview, Chagoury did not resolve his case
22   until October 2019, Baaklini did not resolve his case until March 2021, and defendant
23   was not charged for any offenses until October 2021.5
24         In sum, the jury’s verdicts and specific findings on Count Three (the D.C.
25
           5
26            See United States v. Toufic Baaklini, No. 2:21-cr-00160-DMG, Deferred
     Prosecution Agreement (C.D. Cal. Mar. 31, 2021); see also
27   https://www.justice.gov/usao-cdca/pr/lebanese-nigerian-billionaire-and-two-associates-
28   resolve-federal-probe-alleged (link to full resolution for Gilbert Chagoury, signed
     October 2019).
                                               14
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 1   interview) confirm not only that defendant’s false and misleading statements were
 2   intended to “obstruct” and “impede” federal investigators’ inquiry into FECA and
 3   bribery, but also the investigation into whether defendant committed willful false
 4   statements in the Nebraska interview. (CR 186.) And defendant was successful in his
 5   efforts to impede the investigation into the false statements he made during the Nebraska
 6   interview, as evidenced by the fact that investigators embarked on a new series of
 7   interviews and took a number of investigative steps in response to defendant’s false
 8   statements in order to uncover whether defendant willfully lied in Nebraska. Had
 9   defendant simply told the truth and come clean during the second interview, it would
10   have: (a) saved the government a vast amount of investigative resources and time by not
11   conducting interviews to vet defendant’s witnesses and their resulting versions of events,
12   which included review of phones, GPS data, and email records; (b) allowed investigators
13   to return focus to the underlying and priority FECA, bribery, and foreign influence
14   investigation into Chagoury and his associates; and (c) perhaps altered the charging
15   decisions related to defendant in the first place, which would have saved the parties
16   tremendous resources.
17         This significant and avoidable expenditure of investigative resources and delay in
18   the investigation into FECA/bribery crimes and defendant’s false statements in the
19   Nebraska interview, defendant’s “false information provided to law enforcement”
20   “significantly obstructed” the investigation in a manner warranting an increased offense
21   level and consistent with Ninth Circuit law. See Luca, 183 F.3d at 1023.
22                3.    The USPO’s Analysis of the Obstruction Enhancement Is Flawed
23         In declining to apply the obstruction of justice enhancement, the USPO only
24   provided a conclusory summary largely repeating the text of the applicable Guideline
25   (while correctly noting the government’s position). Its analysis is summarized in a
26   sentence arguing that defendant’s “actions in the second interview constitute a
27   continuation of the relevant conduct of falsifying and concealing material facts and
28

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 1   making false statements.” (PSR ¶ 36.)6 This analysis is problematic in that it conflates
 2   Counts One and Two, and it makes it virtually impossible for a defendant to be held
 3   accountable for his obstructive conduct when he is charged with both a prior false
 4   statement and an underlying scheme to conceal material facts supporting the false
 5   statement because the scheme makes it all part of a single offense. The government is
 6   not aware of any case law or commentary supporting this position that because defendant
 7   lied multiple times, he cannot be held responsible for obstruction in the manner that the
 8   Guidelines otherwise say plainly would apply (provided actual obstruction is
 9   demonstrated). See U.S.S.G. § 3C1.1 cmt. n. 4(G). (obstruction enhancement includes
10   “providing a materially false statement to a law enforcement officer that significantly
11   obstructed or impeded the official investigation or prosecution of the instant offense”).
12   Put another way, if defendant had paid a witness to commit perjury to thwart the
13   investigation into his Nebraska false statements or if defendant had perjured himself on
14   the stand regarding the same,7 there would be no dispute that such conduct triggers the
15   obstruction enhancement even though such conduct could be characterized as a
16   “continuation of the relevant conduct of falsifying and concealing material facts and
17   making false statements.”
18         Put simply, though all defendant’s false material statements involved the same
19   general topics, defendant’s lies during the second interview sprang from, and were
20   designed to conceal and smooth over, defendant’s lies during the first interview. The
21

22         6
             The government notes that this paragraph also states “currently available
23   information does not support that the defendant . . . attempted to obstruct or impede, the
     administration of justice[.]” PSR ¶ 36 (emphasis added). The government believes this
24
     statement to be in error because, at minimum, defendant’s lies in the second interview
25   demonstrated an “attempt” to impede the investigation into his lies in the first one.
     However, while this statement in the PSR is factually incorrect, it is moot because the
26
     commentary to the Guidelines and case law set forth that a mere “attempt” is insufficient
27   to apply this enhancement – actual obstruction must occur. U.S.S.G. § 3C1.1 cmt. n.
     4(G); see also McNally, 159 F.3d at 1217.
28
           7
               U.S.S.G. § 3C1.1 cmt. n. 4(A), (B).
                                                16
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 1   USPO’s analysis overlooks this subtle, yet important, point. The obstruction
 2   enhancement should apply.
 3         B.     Defendant Abused His Position of Trust
 4         The two-level enhancement for abuse of position applies because defendant, a
 5   then-sitting member of the United States Congress, occupied a position of trust and used
 6   that position to significantly facilitate the commission of the offense.
 7         Because the base offense level for 18 U.S.C. § 1001 does not take into account
 8   defendant’s position as an elected public official, the § 3B1.3 adjustment is the only
 9   guideline section that takes into account that defendant abused his position of trust in the
10   commission of the offense. As the court explained in United States v. Ebert, 99 F.3d 448
11   (D.C. Cir. 1996) (unpublished), “section 1001 can be violated by anyone making a false
12   statement ‘in any matter within the jurisdiction of any department or agency of the
13   United States,’ not only by someone in a position of trust.” Id.
14         The § 3B1.3 adjustment applies when a defendant holding a position of trust lies
15   during the course of an investigation. For example, in United States v. Coumaris, 198 F.
16   App’x 9, 10-11 (D.C. Cir. 2006), “[w]hen conveying false information to local law
17   enforcement officers, [the defendant] repeatedly referred to himself as an ‘IRS Agent’ or
18   ‘Agent,’ and at one point even gave the police his badge number.” The court affirmed
19   the application of the § 3B1.3 adjustment, explaining that as an IRS agent, the defendant
20   occupied a position of trust and “abused it on multiple occasions using his special
21   credibility with law enforcement officials in an attempt to avoid detection and to divert
22   attention from his criminal conduct.” Id.
23         Here, too, defendant made false statements to federal investigators while he
24   occupied a position of public trust. On multiple occasions, defendant invoked this
25   position in attempting to falsely bolster his credibility. (PSR ¶ 34; see 7/18/2019 D.C.
26   Interview Transcript at 5-25.) Defendant’s repeated reliance on his status as an elected
27   official during both interviews was designed to convince or even intimidate the
28   investigators into believing that defendant’s elected status and background meant they
                                                 17
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 1   should simply take his version of events at face value. Indeed, defendant’s demonstrated
 2   hostility to investigators when pressed to explain certain inconsistencies and problems
 3   with his story was (at least in part) based on his feigned incredulity that investigators
 4   could believe that he, as a sitting U.S. Congressmember, had participated in or had
 5   knowledge of a federal crime. (See Trial Ex. 128T; see also 7/18/2019 D.C. Interview
 6   Transcript at 52.) As a federal political candidate, defendant was also obligated to
 7   submit truthful and accurate FEC reports. Defendant used that position and obligation to
 8   significantly facilitate the commission of his scheme when he pointed federal
 9   investigators to those false reports as evidence that he was providing truthful
10   information, knowing all the while that he had intentionally chosen not to amend them.
11         The USPO declined to apply this enhancement, contending that defendant’s
12   references to his status as an elected official did not “significantly facilitate” his crimes
13   because “agents had other sources for the investigation, including audio and video
14   recordings, that illustrated the false statements and prevented Fortenberry’s offense
15   conduct from being concealed.” (PSR ¶ 34) (emphasis in original). This is not
16   compelling. Indeed, had defendant, in his second interview, claimed he simply forgot
17   about the content of this call, or did not hear the content of the call because of bad cell
18   phone reception in Nebraska or distraction, or simply did not grasp the content of the call
19   – all of which were defendant’s defenses at trial – and had the government accepted
20   those versions, he would not have been charged with any crimes. As such, defendant’s
21   entreaties (both implicit and explicit) during these interviews for federal investigators to
22   weigh his position of trust in favor of believing his story in both interviews makes his
23   crimes aggravating.
24         The abuse of position of trust enhancement applies.
25   V.    GOVERNMENT’S SENTENCING RECOMMENDATION
26         Defendant’s false statements and obstruction of justice are not victimless crimes.
27   When a public official is revealed to have betrayed his oath, lied to federal investigators
28   to protect his career and image, and endeavored to impede a significant federal
                                                 18
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 1   investigation into matters affecting the core of our democracy, the public’s trust in its
 2   government is deeply affected. Uncovering this type of conduct is often exceptionally
 3   difficult and requires dedicated investigation, including—in this instance—by obtaining
 4   information from witnesses who were long loyal to defendant and even hostile to the
 5   government’s efforts to do so. Moreover, the success of these investigations often
 6   hinges on a conspirator actually taking accountability for their actions and agreeing to
 7   cooperate, in addition to clear objective evidence, such as a recording of the defendant in
 8   his own words.8 The Court should reject any attempts to minimize defendant’s
 9   obstructive conduct or its consequent public harm.
10         The government respectfully requests that the Court adopt the factual findings and
11   criminal history calculation of the PSR in this matter, and the additional factual
12   information in this sentencing position, as supported by the evidence at trial and
13   appended exhibits. After applying the two enhancements described above, defendant’s
14   total offense level should be 10. However, regardless of the final Guidelines calculation,
15   the government’s recommended sentence is grounded in a balancing of the aggravating
16   and mitigating § 3553(a) factors, as set forth below. Given defendant’s repeated conduct
17   over a period of time, lack of remorse, and the strong particularized need for general and
18   specific deterrence here, a meaningful custodial sentence is necessary to reflect all of the
19   § 3553(a) factors and achieve the goals of sentencing.
20

21

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           8
26           In pre-trial litigation and at trial, defendant made much of the FBI’s/USAO’s
     decision to surreptitiously record its interactions with him. This case proves why such
27   investigative actions are not only entirely legitimate, but necessary. Had the jury not
     heard defendant in his own words in his recorded call with Dr. Ayoub and two recorded
28   interviews (and seen him in the Nebraska interview), and only relied on witness
     testimony alone, it would have made this case exceptionally more challenging.
                                                19
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 1         A.     The Extended, Repeated, and Serious Nature of Defendant’s Conduct
                  Warrants a Meaningful Custodial Sentence
 2
           This was no run-of-the-mill false statements case. It did not involve just a single
 3
     lie, which the Department of Justice does pursue and charge.9 It did not involve false
 4
     statements made in the context of an administrative proceeding or even a low-priority
 5
     criminal federal investigation. A defendant convicted of a § 1001 violation under such
 6
     facts would be subject to a similar Guidelines range as the USPO found for defendant
 7
     here, and a sentence at the low-end of that 0 to 6-month range for those defendants might
 8
     be appropriate. This case is wholly distinguishable, and far more aggravating.
 9
     Sentencing equity and the Guidelines’ purposes make clear there must be some
10
     meaningful distinction in sentencing different conduct. Accordingly, the sentence
11
     imposed here must reflect those differences and the aggravating factors that are present.
12
           This defendant was convicted of three separate federal felonies for conduct
13
     spanning approximately one year (June 2018 to July 2019). These counts encompassed,
14
     as unanimously found by the jury, lies, concealment, or omission of ten facts related to a
15
     significant federal investigation into FECA crimes, bribery, and foreign influence. That
16
     conduct included: (a) willfully making repeated false and misleading statements and
17
     intentional omissions during a 40-minute interview in Nebraska; (b) deliberately seeking
18
     out a second interview to make additional false and misleading statements and
19

20
           9
21           For example, in United States v. Kevin Clinesmith, Case No. 1:20-cr-00165-
22
     JEB (D.D.C.), the Department of Justice charged Clinesmith, a former FBI lawyer, for a
     single false statement in a single email to an FBI supervisory special agent in an illegal
23   attempt to obstruct a criminal investigation. Clinesmith pled guilty pre-indictment,
24
     engaged in no litigation (frivolous or otherwise), cooperated with a related internal
     investigation, and showed full remorse and acceptance of responsibility, including by
25   way of stipulation that the abuse of trust enhancement under U.S.S.G. § 3B1.3 applied.
26   (Clinesmith was sentenced to probation and 400 hours of community service.) In United
     States v. Michael Sussmann, Case No. 1:21-cr-00582-CRC (D.D.C.), the Department of
27   Justice charged a lawyer with making a single false statement on a single occasion
28   regarding whether the defendant was working “for any client” at the time he was
     referring a criminal matter to the FBI. (Sussmann was acquitted by the jury.)
                                               20
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 1   intentional omissions during a two-hour interview in Washington D.C; (c) intentionally
 2   making the calculated decision to not amend his FEC report, despite filing a dozen other
 3   FEC reports during that same time period (see Tr. Ex. 11); and (d) intentionally choosing
 4   to not disgorge the illegal contributions. Unlike a § 1001 case in which a single false
 5   statement was uttered, the jury’s special verdict makes clear that it found beyond a
 6   reasonable doubt that defendant’s conduct was repeated, sustained, intentional, and
 7   varied. Moreover, defendant did not mislead investigators about peripheral information.
 8   Defendant himself was both the subject of the Federal Investigation and he was
 9   concealing his percipient knowledge of others’ participation in federal crimes. A non-
10   custodial or brief custodial sentence is thus inappropriate under the circumstances and
11   would not adequately account for the nature and circumstances of the offense, promote
12   respect for the law, provide just punishment, or afford adequate deterrence.
13         Defendant’s conduct is all the more aggravating because of its actual hindrance to
14   the Federal Investigation and because of the public trust that defendant abused. Even if
15   the abuse of trust and/or obstruction enhancements are not formally applied, the
16   underlying conduct relevant to those enhancements “warrant[s] a greater sentence within
17   the otherwise applicable guideline range,” as they demonstrate why defendant’s conduct
18   here is significantly more aggravating than other conduct supporting a traditional § 1001
19   conviction. See U.S.S.G. § 3C1.1 cmt. n.5.
20         Defendant knew that the truth—that Chagoury had funneled his money through
21   Baaklini to Dr. Ayoub and other conduits—would be significant to the federal
22   government and would help uncover the corrupt conduct of those individuals. Defendant
23   also knew that his false statements would hinder the FBI’s investigation; indeed, that
24   was his goal – to protect himself, his political and financial supporters, and his financial
25   future. Defendant’s former constituents, along with citizens nationwide, deserve a
26   representative who they place in a position of trust to support federal criminal
27   investigators, not to hinder them, even when such decisions are difficult.
28         When faced with sentencing conduct that adversely impacts public trust in the
                                                21
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 1   fairness and integrity of government, also “at stake is the collective reputation of all
 2   elected officials, particularly those at the pinnacle of power and prestige. What happens
 3   when that public trust is abused by corrupt acts? The offender’s reputation is sullied and
 4   with it the reputation of honest and stalwart public servants. The judicial response to
 5   demonstrated corruption by the political elite and the lapse of duty, honor, and
 6   integrity it represents is as important as the corruption itself.” United States v.
 7   Morgan, 635 F. App’x 423, 447 (10th Cir. 2015) (reversing district court and finding
 8   sentence of probation unreasonable in public corruption prosecution of state senator).
 9         B.     The Need to Avoid Unwanted Sentencing Disparities
10         The Court is also to consider the need to avoid unwarranted sentencing disparities
11   among defendants with similar records who have been found guilty of similar conduct.
12   18 U.S.C. § 3553(a)(6). A review of recent § 1001 cases in this District is instructive.
13                1.     United States v. Mitchell Englander (Case No. 2:20-CR-00035-JFW):
                         14 months’ custody
14
           In one of the most recent similar cases in this district, United States v. Mitchell
15
     Englander, defendant Englander, a former Los Angeles City Councilmember, pled guilty
16
     to a single count of a violation of § 1001(a)(1). Like defendant here, Englander had no
17
     criminal history and a lengthy and decorated career in public service. Unlike defendant
18
     here, Englander pled guilty promptly after indictment, admitted a fulsome factual basis,
19
     did not engage in frivolous or extended litigation, and expressed remorse at sentencing.
20
     In Englander’s matter, the USPO recommended a sentence of probation. (Englander
21
     Dkt. No. 39 at 1.) However, the Honorable John F. Walter significantly disagreed and
22
     sentenced defendant to 14 months’ imprisonment, 3 years’ supervised release, and a fine
23
     of $15,000. (Englander Dkt. Nos. 60, 62.)10 The government submits that Englander’s
24

25
           10
              The Court also disagreed with the USPO Guidelines calculations and followed
26   the government’s recommendation in finding that the higher obstruction of justice
     (U.S.S.G. § 2J1.2) base offense level applied. While Englander’s additional admitted
27   conduct involving a witness was surely aggravating and warranting an enhanced
     sanction, his recent sentence in this District strongly supports that a custodial sentence is
28   appropriate when politicians repeatedly choose to lie to save themselves during serious
     criminal investigations, as defendant did here.
                                                22
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 1   sentencing provides a helpful framework for courts to evaluate the seriousness of the
 2   offense when elected officials use their position of power to lie, mislead, and effectively
 3   obstruct federal criminal investigations, particularly ones into their own misconduct.
 4   This remains true even when that underlying investigation results in no additional
 5   charges against that official (as was the case with Englander).
 6                2.     United States v. Byron Dredd (Case No. 15-CR-00569-DSF): 12
                         months’ custody
 7
           In another recent comparable case in our district, defendant Byron Dredd, a then-
 8
     Los Angeles County Sheriff’s Department deputy, was convicted after a re-trial of a
 9
     single count of § 1001(a)(2).11 Dredd had lied to FBI agents about what he observed
10
     during a use of force incident at the Men’s County Jail. Notably, Dredd was not charged
11
     with or implicated in use of excessive force, and he was acquitted of an obstruction
12
     charge. At sentencing, again the USPO recommended probation. (Dredd Dkt. No. 298.)
13
     And again, the court disagreed. Instead, the Honorable Dale S. Fischer, although finding
14
     an advisory Guidelines range of 0-6 months’ custody and notwithstanding that Dredd
15
     was a veteran law enforcement officer who was well regarded, sentenced defendant to 12
16
     months’ prison. The court’s sentence was based on the seriousness of defendant’s lies
17
     and the aggravating nature of his repeated conduct,12 particularly as it related to a
18
     significant federal criminal civil rights investigation and that, as a sworn law
19
     enforcement officer, Dredd effectively chose to obstruct the law. (Dredd Dkt. No. 321.)
20
     Here, defendant was convicted of not just one, but three counts of § 1001, and otherwise
21
     shares similar aggravating factors vis-à-vis his public official status and the nature of the
22
     investigation he sought to obstruct.
23

24

25

26
           11
27            Dredd was acquitted at the first trial of obstruction of justice in violation of 18
     U.S.C. § 1519.
           12
28            Dredd also falsely testified during his trial. While defendant here called
     multiple witnesses, including his wife, he elected not to testify at trial.
                                                23
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 1                3.    A probationary sentence will create unwarranted sentencing
                        disparities with less-culpable defendants who do not enjoy the same
 2                      status as defendant
 3         “Congress’s primary goal in enacting [18 U.S.C.] § 3553(a)(6) was to promote
 4   national uniformity in sentencing.” United States v. Saeteurn, 504 F.3d 1175, 1181 (9th
 5   Cir. 2007) (citation omitted).
 6         A non-custodial sentence here would mean that defendant would obtain the same
 7   sentence as a defendant who was convicted of a single count of making a single false
 8   statement on a single occasion. Further, it would mean that a defendant who promptly
 9   pleaded guilty (even before indictment), who provided a fulsome factual basis, and who
10   expressed clear and genuine remorse would receive the same sentence as the defendant
11   here who did none of those things. Sentencing such significantly dissimilar defendants
12   to the same (or even similar) sentence cannot be justified under current case law,
13   Guidelines, or simple fairness. Moreover, while recognizing the need for individualized
14   sentencing, a non-custodial sentence is arguably inconsistent with other comparable
15   sentences nationwide, according to available data from the United States Sentencing
16   Commission for fiscal year 2021. That data shows that for 62 nationwide cases, the
17   average imprisonment length for defendants sentenced under U.S.S.G. § 2J1.2
18   (obstruction of justice) with Criminal History Category I was 21 months. See United
19   States Sentencing Commission Interactive Data Analyzer, available at
20   https://ida.ussc.gov/analytics/saw.dll?Dashboard. Using the more general fraud-based
21   offenses under U.S.S.G. § 2B1.1 (still Criminal History I), data for fiscal year 2021 for
22   3,001 nationwide cases shows an average imprisonment length of 18 months. Id.
23         Establishing the appropriate incentives and disincentives through sentencing is
24   critical to our justice system. Accordingly, whatever the ultimate Guidelines range, a
25   meaningful custodial sentence should be imposed to ensure defendant’s sentence is
26   appropriately individualized, fair to other defendants, and occasions general deterrence.
27

28

                                               24
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 1          C.      General Deterrence Is Paramount in Cases Involving Public Officials
 2          General deterrence is a unique concern in public corruption and public official
 3   misconduct cases. As one court noted:
 4          We need not resign ourselves to the fact that corruption exists in
            government. Unlike some criminal justice issues, the crime of public
 5          corruption can be deterred by significant penalties that hold all offenders
            properly accountable. The only way to protect the public from the ongoing
 6          problem of public corruption and to promote respect for the rule of law is to
            impose strict penalties on all defendants who engage in such conduct, many
 7          of whom have specialized legal training or experiences. Public corruption
            demoralizes and unfairly stigmatizes the dedicated work of honest public
 8          servants. It undermines the essential confidence in our democracy and
            must be deterred if our country and district is ever to achieve the point
 9          where the rule of law applies to all — not only to the average citizen, but to
            all elected and appointed officials.
10

11   United States v. Spano, 411 F. Supp. 2d 923, 940 (N.D. Ill. 2006), affirmed, 477 F.3d
12   517 (7th Cir. 2006) (emphasis added). General deterrence is a particularly effective tool
13   in corruption and other white-collar cases, as white-collar criminals often premeditate
14   their crimes and engage in a cost-benefit analysis. See, e.g., United States v. Martin, 455
15   F.3d 1227, 1240 (11th Cir. 2006) (“Because economic and fraud based crimes are more
16   rational, cool, and calculated than sudden crimes of passion or opportunity, these crimes
17   are prime candidates for general deterrence. Defendants in white collar crimes often
18   calculate the financial gain and risk of loss, and white collar crime therefore can be
19   affected and reduced with serious punishment.”).
20          This analysis applies with equal force here where defendant made numerous
21   deliberate choices to lie and obstruct a major federal criminal investigation into crimes
22   that implicated the foundations of our democracy (election integrity). And he did so
23   despite having numerous opportunities to change course, to tell the truth, or just say
24   nothing at all. Making matters worse, defendant leaned into his elected official and
25   reputational status as a (failed) means to deter this legitimate investigation and defend
26   himself at trial.
27          One of the primary objectives of sentencing elected officials is to make clear to
28   other public officials that abusing their position of trust and violating the law by
                                                25
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 1   obstructing justice is a serious breach of their oath—one that carries with it a
 2   correspondingly serious punishment. See S.Rep. No. 98–225, at 76 (1983), reprinted in
 3   1984 U.S.C.C.A.N. 3182, 3259 (“[A] purpose of sentencing is to deter others from
 4   committing the offense. This is particularly important in the area of white collar crime.
 5   Major white collar criminals often are sentenced to small fines and little or no
 6   imprisonment. Unfortunately, this creates the impression that certain offenses are
 7   punishable only by a small fine that can be written off as a cost of doing business.”);
 8   United States v. Mueffelman, 470 F.3d 33, 40 (1st Cir. 2006) (recognizing importance of
 9   “the deterrence of white-collar crime (of central concern to Congress), the minimization
10   of discrepancies between white-and blue-collar offenses, and limits on the ability of
11   those with money or earning potential to buy their way out of jail”). By their nature,
12   white-collar crimes are often difficult to detect; this makes enhanced general deterrence
13   even more necessary. See United States v. Brown, 880 F.3d 399 (7th Cir. 2018) (district
14   court did not err in relying on idea that white-collar criminals were prime candidates for
15   general deterrence; district court was entitled to conclude that where there was a lower
16   likelihood of getting caught, a serious penalty was necessary to ensure deterrence).
17         Imposing too lenient of a sentence in this case would send the opposite message.
18   It would encourage (rather than discourage) public officials to obstruct public corruption
19   probes by sending the message that (1) if caught, they will only face minimal criminal
20   penalty, and (2) if they successfully obstruct, they will maintain their political image,
21   power, and pathway to a lucrative future. In such a calculus, for those inclined toward
22   corruption, obstructing justice simply becomes a worthwhile investment to maintain
23   status as a public official and to exploit it for personal gain. This calculus cannot be
24   endorsed in a functioning democracy. In light of the numerous aggravating facts of
25   defendant’s conduct here, a lenient sentence threatens the goal of deterrence. “The threat
26   of spending time on probation simply does not, and cannot, provide the same level of
27   deterrence as can the threat of incarceration in a federal penitentiary for a meaningful
28   period of time.” United States v. Livesay, 587 F.3d 1274, 1279 (11th Cir. 2009); see
                                                26
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 1   also United States v. Kuhlman, 711 F.3d 1321, 1328 (11th Cir. 2013) (“We are hard-
 2   pressed to see how a non-custodial sentence serves the goal of general deterrence.”).
 3         D.     -Specific Deterrence Also Compels a Meaningful Custodial Sentence
 4         Specific deterrence is also a relevant goal here, as defendant has remained defiant
 5   before and since being indicted, including up to and even after trial and his convictions.
 6   Defendant has expressed no remorse or any semblance of accountability but has instead
 7   placed blame on others and even politics for his own conduct and now convictions.
 8   (See, e.g., 3/25/2022 Washington Post article, also available at
 9   https://www.washingtonpost.com/nation/2022/03/25/jeff-fortenberry-guilty-conviction/.)
10   (Defendant telling the press “We always felt like it was going to be hard to have a fair
11   process here.”)) Defendant targeted and blamed the lead FBI investigator through
12   reckless and ultimately totally refuted allegations (CR 30 (Motion to Compel
13   Discovery); he lobbed personal and rejected attacks against the prosecutors (CR 21
14   (Motion to Disqualify), CR 35 (Motion to Suppress Statements), CR 97 (Joint Motion in
15   Limine re Political Prosecution); he blamed his election lawyer; and he blamed his initial
16   defense attorney Trey Gowdy. Defendant’s continued efforts to minimize his own
17   criminal conduct and to shift the blame by pointing the finger at a multitude of other
18   factors presents a greater risk of recidivism as compared to someone who has fully
19   accepted responsibility.
20         The PSR asserts its recommended three-month sentence affords adequate
21   deterrence because defendant has “otherwise lived a law-abiding life in service to his
22   family, community, and country.” (PSR Ltr. at 5). The government does not contest
23   that defendant lacks a prior criminal history and has held an elected position since 2005.
24   However, the need to afford adequate deterrence must be considered in the context of the
25   conduct of the person appearing now before the Court for sentencing, and not simply on
26   defendant’s past. This defendant demonstrated a lack of respect to federal investigators
27   when it came to matters that negatively impacted him, and he acted criminally to serve
28   himself. These facts reflect a strong need for specific deterrence. This is especially so
                                               27
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 1   when defendant’s acts are compared to other defendants who engaged in a single act of
 2   criminality, who accepted responsibility and pled guilty, and who did not attempt to
 3   escape accountability by attacking the motivations of any that would investigate him.
 4         When confronted with the opportunity to live up to his oath or hide behind it,
 5   defendant chose himself and his political interests over his country, his community, and
 6   his family. When combined with defendant’s lack of remorse and accountability,13 plus
 7   his public comments and public relations strategy14 to make himself the purported martyr
 8   of a political hit job by “California prosecutors” and a biased FBI agent, it remains to be
 9   seen what lessons defendant has taken from his prosecution and convictions. While
10   defendant is currently no longer be an elected official,15 he may very well be faced with
11   another opportunity to choose respect for the law or his own self-interest, and a
12   meaningful custodial sentence will impress upon defendant the need to choose the lawful
13   path in the future.
14         E.     History and Characteristics of Defendant
15         Defendant’s history and characteristics present both mitigating and aggravating
16   circumstances.
17         According to the PSR, defendant’s parents divorced when he was eight, and his
18   father passed when defendant was thirteen.16 (PSR ¶¶ 52, 54.) Defendant has five
19   daughters (ages 16 to 25), including one daughter who has a history of serious medical
20   challenges. (Id. ¶ 59.) The PSR suggests that defendant may provide some financial
21   assistance to his mother and stepfather, as well as to his sister (id. ¶¶ 65-66), although no
22

23         13
               Defendant did not accept responsibility with the USPO but his counsel stated he
24   would provide the Court a letter. (PSR ¶ 27.)
            14
               Defendant’s campaign spent $40,000 on a communications advisor shortly
25   before and after his trial. https://docquery.fec.gov/cgi-
     bin/forms/C00395467/1586192/sb/ALL
26          15
               That said, felony convictions alone do not preclude federal candidates from
27   running for office, and to the government’s knowledge, defendant has never claimed he
     will not later seek a return to elected office.
            16
28             Defendant objected to this portion of the PSR, noting that he was 12 years old.
     (CR 210.)
                                                28
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 1   monthly expenses are specifically documented in this regard (id. ¶ 130). The PSR also
 2   describes the many thoughtful letters it received in support of defendant. (Id. ¶¶ 67-
 3   111.)
 4           While reasonable minds can differently weigh the various § 3353(a) factors, the
 5   law requires they not be weighed to unjustly favor certain classes of defendants (e.g.,
 6   those in positions of power and prestige who are better able to compile an army of
 7   support letters) and disfavor others; furthermore, no factors should be omitted from the
 8   balancing. See United States v. Bragg, 582 F.3d 965, 969 (9th Cir. 2009) (“The very
 9   broad discretion of district judges in sentencing post-Booker does not extend to ignoring
10   sentencing factors mandated by statute.”); Gall v. United States, 552 U.S. 38, 49–50,
11   (2007) (district judges are required to “consider all of the § 3553(a) factors to determine
12   whether they support the sentence requested by a party”) (emphasis added). Courts have
13   repeatedly made clear that disparate treatment favoring certain classes of defendants is
14   improper. “[I]t is impermissible for a court to impose a lighter sentence on white-collar
15   defendants than on blue-collar defendants because it reasons that white-collar offenders
16   suffer greater reputational harm or have more to lose by conviction.” United States v.
17   Prosperi, 686 F.3d 32, 47 (1st Cir. 2012). Collateral consequences “related to a
18   defendant’s humiliation before his community, neighbors, and friends would tend to
19   support shorter sentences in cases with defendants from privileged backgrounds, who
20   might have more to lose along these lines. And ‘[w]e do not believe criminals with
21   privileged backgrounds are more entitled to leniency than those who have nothing left to
22   lose.’” United States v. Bistline, 665 F.3d 758, 760 (6th Cir. 2012) (citation omitted).
23           The USPO also points out that defendant “excelled at school,” obtained several
24   advanced degrees, and served as a congressman for 17 years. (USPO Ltr. at 4.) Many of
25   the letters point to defendant’s public service, which defendant was able to pursue due to
26   Mrs. Fortenberry’s employment and financial support of the family. (PSR ¶ 56.) The
27   combination of these advantages makes him unlike many of the defendants that come
28   before this Court who have committed crimes. For those defendants, such disadvantages
                                               29
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 1   do not justify but certainly may mitigate their criminal conduct. By contrast, the lack of
 2   such disadvantages makes defendant’s criminal conduct here all the more inexcusable.
 3   Individuals, like defendant, who have earned significant levels of professional success
 4   and thus are able “to make a decent living without resorting to crime are more rather
 5   than less culpable than their desperately poor and deprived brethren in crime.” United
 6   States v. Stefonek, 179 F.3d 1030, 1038 (7th Cir. 1999); see also Kuhlman, 711 F.3d at
 7   1329 (“The Sentencing Guidelines authorize no special sentencing discounts on
 8   account of economic or social status.”).
 9                1.     Defendant had many choices; he chose poorly many times
10         Defendant is privileged to have family and community support; he does not have
11   mental health or substance abuse problems. And defendant had a choice. In fact, he had
12   many options. This is not the case of a defendant driven to drug sales because he grew
13   up in a drug house and dealing became the only skill he acquired. This is not the case of
14   a defendant driven to aberrant criminal behavior due to a spiraling addiction. Defendant
15   was not suffering from the onset of a mental ailment each time he lied to the federal
16   government about his conduct or failed to take any corrective action to conceal the
17   illegal money benefitting his campaign. Properly evaluated through this framework,
18   defendant’s personal status and history during the period of his conduct in this case is
19   also an aggravating factor.
20                2.     Community support for a public official involved in a corruption-
                         related offense is of limited mitigation value
21
           The PSR dedicated forty-four paragraphs to defendant’s reference letters. (PSR
22
     ¶¶ 67-111.) Politicians convicted of offenses still often maintain a cadre of support from
23
     long-time colleagues and/or allies who seek to highlight their personal view of
24
     defendant’s laudatory accomplishments; but their import at sentencing should not be
25
     overstated. See United States v. Vrdolyak, 593 F.3d 676, 683 (7th Cir. 2010)
26
     (“Politicians are in the business of dispensing favors; and while gratitude like charity is a
27
     virtue, expressions of gratitude by beneficiaries of politicians’ largesse should not weigh
28

                                                30
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 1   in sentencing.”). Defendant’s ability to gather many letters of support, including from
 2   prominent individuals in the community, is “certainly impressive but not surprising....
 3   One does not become [a longtime elected U.S. Congressman] without the confidence of
 4   many supporters, some quite influential. The letters must be viewed in that light.”
 5   Morgan, 635 F. App’x at 450.
 6         On balance, the relevant mitigating and aggravating factors support the
 7   government’s recommended sentence of 6 months’ imprisonment.
 8         F.     Fine and Community Service
 9         The PSR calculated defendant’s fine range as $1,000-$9,500 and found that
10   defendant had significant assets and a net worth of approximately $1.1 million. (PSR
11   ¶¶ 140, 153.) Among his other substantial assets, defendant has secured lucrative
12   employment (after his convictions in this case) that pays $12,000 per month with a
13   potential for a $50,000 bonus. (Id. ¶¶ 129, 138.)17 USPO recommended a fine at the
14   high-end of its calculated range.
15         Under the government’s Guidelines calculations, the fine range is $4,000 to
16   $40,000. See U.S.S.G. § 5E1.2(c)(3). The government recommends a fine of $30,000,
17   which is the amount of illicit foreign money by which defendant’s campaign illegally
18   benefitted until he disgorged the money after his second FBI interview.18 Defendant
19   clearly has the present ability to pay this fine. Indeed, defendant, who utilized the
20   services of four retained attorneys during his trial, largely funded his defense with
21   contributions from political donors, which included having his campaign pay over
22

23         17
               The PSR notes that counsel for defendant claims defendant may lose his pension
24   and funds in his Thrift Savings Plan (PSR ¶ 140), which counsel also conveyed to the
     government during pre-trial negotiations. However, defendant was now convicted
25   months ago and it appears no such action has been taken against these funds (or no such
     information has been provided to the government or USPO). As the USPO found,
26   defendant’s “current financial condition supports his ability to pay an immediate fine.”
     (Id.)
            18
27             The government notes that for FECA crimes, the amount of the fine is
     determined by the amount of illegal monies involved. 52 U.S.C. § 30109(d)(1)(D)(ii)
28   (setting criminal fine amount for conduit contributions as “not less than 300 percent of
     the amount involved in the violation”).
                                                31
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 1   $600,000 in legal fees in January and February 2022 alone.19 This windfall allowed
 2   defendant to retain significant personal funds by taking advantage of a privilege
 3   unavailable to almost all other defendants.
 4         Finally, in light of defendant’s long public service career and dedication to his
 5   community and causes, a term of community service is appropriate for defendant to
 6   show true personal accountability for his crimes, while also continuing to benefit his
 7   community consistent with the person described in the letters provided to the Court.
 8   Defendant can help others avoid the mistakes he made and give back to the community
 9   whose trust he violated. A two-year period of supervised release, during which time
10   defendant would satisfy the 150-hour community service requirement, would still leave
11   defendant sufficient time to maintain employment, manage his numerous family
12   responsibilities, and not be overly burdensome in light of defendant’s age and good
13   health. (See PSR ¶¶ 113-16).
14   VI.   CONCLUSION
15         For the foregoing reasons, the government respectfully requests that the Court
16   impose the following sentence: 6 months of imprisonment, followed by two years of
17   supervised release, a $30,000 fine, 150 hours of community service, and a special
18   assessment of $300.
19

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28            See Schedule B Itemized Disbursements, also available at
     https://docquery.fec.gov/cgi-bin/forms/C00395467/1586192/sb/ALL.
                                               32
